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                                                                                                      FILED
                                                                                              1:18 pm Dec 17 2024

         Executive Grant of Clemency                                                         Clerk U.S. District Court
                                                                                             Northern District of Ohio
                                                                                                      Akron



TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:
                                                                               1:10cr387-01

       I HEREBY COMMUTE the total sentence of confinement that each of the following
named persons is now serving, to expire on December 22, 2024, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all of its conditions

and all other components of each respective sentence. Nothing in this grant of clemency should
be presumed to interfere with, or supersede, the Bureau of Prisons’ authority to oversee each

person’s confinement, pursuant to the terms set forth in this grant of clemency. Each person shall
remain subject to all ordinary disciplinary rules. The following persons are recipients of this
grant of clemency :

  Name                            Reg. No.                 Name                         Reg. No.
  ANTWON ABBOTT                  16383-028                 MY AGUILLARD                 0545 1-095

  RLS AR ABDUL AZIZ              02438-095                 ALBERTO AGUIRRE              68408-079

  EDWARD ABELL III               00566- 138                CHELSEY AGUIRRI              57387- 1 77

  ANTHONY ABREU-                 44903-069                 TOYOSI ALATISHE              63492-037
  MATOS
                                                           DENNIS ALBA                  89560-0 12
  FAYEZ ABU-AISH                 67402-0 1 8
                                                           BRIAN ALCORTA               44752-380
  JOSE ABUNDIZ                   1 1 828-085
                                                           MAHMOUD ALDISSI              60832-01 8
  JORGE ACEVEDO                  044 1 3 -028
                                                           ROBERT ALDRIDGE              00195 - 120
  MARK ACKERMAN                  30428-047
                                                           ANTHONY ALFARO               227 10-026
  SETH ACOSTA                    47417-177
                                                           MUHAMMAD ALI                42233-379
  FELIX ACOSTA                   78804- 198
                                                           NAGY ALI                     13500-479
  KARA ADAMS                     61718-019
                                                           ASIF ALI                     57844- 1 77
  JOHN ADAMS                     17769-029
                                                           MICHAEL ALLEN                14822-042
  LONZINE ADAMS                  39134-018
                                                           DEVORD ALLEN                 05097-04 1
  DARRYL ADAMS                   3235 1-009
                                                           KRISTIE ALLEN                18933-023
  HERMAN ADAMS                   0379 1-480
                                                           BENJAMIN ALLNION             17008-029
  ADEMOLA ADEBAYO                17711-104
                                                           KAHEIM ALLUMS                78040-054
  AYODELE ADEN IRAN              78249-054
                                                           GUNIARO ALMANZA              57815-380
  PAMELA ADENUGA                 45171-177
                                                           JORGE ALONIAR-BAELLO         74 1 70-053
  SHELIN DER AGGARWAL            34768-00 1
                                                           WILLIAM ALONZO               51061-039
  MANUEL AGUILAR                 26463-009
                                                           JAMES ALTOM                  27680-045
  RAMON AGUILAR III              50500- 177
                                                           JUAN ALVAREZ                 18027-097
  VINCENTER JIMENES              19899-026
                                                           CARLOS AMADOR                64899-279




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Name                     Reg. No.                Name                   Reg. No.
FRANK AMODEO            48883-0 19                   RYAN BAIRD        15870-028

ROBERT ANDERSON         14686-076                    ULYSEE BAKER JR   56979-083

ROBERT ANDERSON         09350-02 1                   BRIAN BALLANGEE   11907-033

THOMAS ANDERSON JR      4 1 952-044              JOHN BANKS            15023-075

MELVIN ANDERSON         32689-074                    KIMBERLY BANKS    96 1 88-020

JULIE ANDRADE           75726- 112               JEFFREY BANKS         78927-083

MARK ANDREOTTI          67620-050                    FRAENCHOT BANKS   15638-04 1

WILFREDO ANDUJAR        23432-058                ANDRE BARBARY         97866-004

ANTONIO ESCOBAR         29230-479                EVIZAEL BARBOSA-      76036-066
                                                 DELGADO
CHRISTOPHER
                        06975- 104
ANZALON E                                        RUBEN BARCELO-        63353-018
                                                 SEVERINO
JOSE APONTE             71 104-050
                                                 COY BARKER            2232 1-078
CLYDE APPERSON          14058-03 1
                                                 HAROLD BARNETT        15762-033
ROY APPLEWHITE          13755-040
                                                 YESENIA BARRAGAN      80567-298
DWAYNE APPLING          12383-273
                                                 JOSE BARRERA          28336-078
ALVARO ARGUELLES        36944-479
                                                 JOSE BARRERAS         15114-028
MINEL ARIAS             85794-054
                                                 ONEIL BARRETT         57578-298
GABRIEL ARIAS           16089- 1 04
MADURO                                           PHILIP BARRY          77573-053

RICHARD ARLEDGE         16769-078                DION BARTLETT         5 1 593-083

GENNY ARMENTA           54202- 177               KURT BARTON           7 1 720-280

TRACY ARNOLD            52198-074                RANIIRO BASALDUA      64458-079

ERIC ARNOLD             45771 -074               HARVEY BASS           55769-01 8

BERNARD ARRE            04052-029                SHALLIN BAST          22296-040

BENJAMIN ARZOLA         27539-050                PATRICK BATES         33795-058

JAMES ASKEW III         27100-00 1               DERRICK BEALS         04 143-043

NICHOLAS AUDETTE        72060-0 1 8              CARLOS BECERRA        16447- 179

CARLOS AVANT            22833-076                LYDIA BECK            71137-019
ANGELA AVETISYAN        68350-112                DONALD BECK           29 104-057

ERICA AYALA             49030- 177               EDDIE BECKHAM         34320-058

ISMAEL AYALA            42295-0 1 8              TODD BEHRENDS         22602-047
FRANK BADILLA JR        43595-480                ANTHONY BELL          2623 1-013

ALCIDES BAEZ            37504-004                JEAN BENITEZ-REYES    52753-069
JACKIE BAGLEY           63477-037                AUNDEL BENOIT         363 12-004

SANDRA BAILEY           2728 1-076               SHANNON BENTLEY       71366-018

JAMES BAILEY            05406-0 10               LARRY BENTLEY JR      24069-044




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Name                     Reg. No.                   Name                 Reg. No.

LEON BENZER             4752 1 -048                 PAUL BOWMAN          53747-074

MARC BERCOON            6608   1 -0 19              MICHAEL BOWMAN       19060-084

ROGER BERGMAN           04825- 104                  VERNON BOWSER        14524-074

CARLOS BASTARD          724 19-054                  CHRISTOPHER BOX      22026-084

AUSTIN BERTCH           14003-029                   QUINBY BOYD          30446-058

CORDARRYL BETTON        21389-043                   WILLIAM BOYLAND JR   7975 1-053

ANTONIO BEVERLY         02712- 104                  KENNETH BRADLEY      09488-02 1

TRACY BIAS              70248-06 1                  MACK BRADLEY         08073-043

DAVID BILES             40371 -074                  WILLIAM Bk4DLEY      87078-054

MICHAEL BINDAY          663 89-054                  BENJAMIN BRADLEY     50878-039

MICKEY BIRGE            1 0240-028                  JUSTIN BRANON        89595-408

DOYLE BIVENS            4003 1 -074                 DONALD BRELJE        09657-04 1

KIMBERLY BLACK-         265 18-045                  MATTHEW BREMOND      20559-006
MCCORMICK
                                                    STEVEN BREWER        2428 1-077
KEVIN BLALOCK           42597-074
                                                    TREAVOR BRIGGS       32708-009
JAMES BLANTON           50960-509
                                                    SHAMICHAEL BRIGHT    14688-035
ANIS BLEMUR             193 80- 1 04
                                                    MITCHELL BROOKS      24135-016
KEVIN BLEVINS           32128-177
                                                    ANDREA BROOKS        2860 1-380
ERIC BLOOM              44727-424
                                                    TERRICIOUS BROOKS    54557-056
JOHN BLOUNT             17880-035
                                                    SHELLE BROOKS        04027-029
KENDALL BLUE            55802-056
                                                    DONALD BROOMFIELD    61304-018
VILAWOE BOADU           76454-408
                                                    BOBBIE BROWN         40453 -424
ANDREW BOGDANOFF        6825 1 -066
                                                    ATARI BROWN          5468 1-039
ANASTASSIA              60833-0 1 8
BOGOMOLOVA                                          JERMAINE BROWN       62269-01 9

LASHAUN BOLTON          30504-057                   KEVIN BROWN          32427-0 16

AMANDA BONEL            22810-078                   JB BROWN JR          19409-026

RICARDO BONILLA-        40498-069                   EDDIE BROWN          06900-063
ROJAS
                                                    DARRYL BROWN         46329-074
CHRISTOPHER BOOTH       07502-043
                                                    ISAAC BROWN          33651-058
LISA BOOTON             30658-047
                                                    TRAMAINE BROWN       91240-053
RANDALL BOSTIC          42523-074
                                                    JAMES BROWN          31677-171
SYLVESTER BOSTON JR     5022 1 -039
                                                    TERESA BROWN         22766-045
ROBERT BOSTON           33525-058
                                                    JONATHAN BRUNIBACK   22506-03 1
ALICIA BOULDIN          58421 - 177
                                                    TORRIE BRUNIFIELD    32473-034
AUDRA BOWDEN            50705-1 77
                                                    ROCKY BRUMMETT       12354-032
MELVIN BOWEN            19666-078




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Name                     Reg. No.                 Name                  Reg. No.

MICHAEL BRUNER          17984-032                 JAMES CARLSON         16784-04 1

MICHAEL BRYANT          54559-004                 ALLEN CARNES          02783-061

GREGORY BUCK            26568-081                 TERRELL CARNEY        33927-034

TAMATHA BUCKHOLT        63353-280                 LUSHAWN CAROLINA      58659-083

KEVIN BUI               26874-0 1 7               KELLI CARON           13604-059

DENNIS BUNCH            78044-083                 HORRIS CARPENTER      27422-076

JOHN BURGESS            59495-177                 PEDRO CARRASCO JR     07532-046

JAMES BURKHART          15426-028                 CARMELO               53078-069
                                                  CARRASQUILLO-LOPEZ
PAUL BURKS              29723-058
                                                  JIMMY CARRASQUILLO-   33484-069
ALEKSANDR BURMAN        50234-054                 RODRIGUEZ

VICTOR BURNETT          54977-039                 JOSE CARRILLO         62730-080

ANTHONY BURNETT         16708-028                 CLIFFORD CARROLL      13905- 104

PIERRE BU RNETT         15146-028                 DEWEY CARROLL         50232-037

LAMEL BURNS             42334-424                 RASHAUN CARTER        21884-084

SIRRICO BURNSIDE        24037- 171                ERIK CARTER           5 1330-039


NATHANIEL BURRELL Ill   7 143 1 -066              MAURICE CARTER        97740-020

REBECCA BURRESS         30393-074                 JOSEPH CARTER         16691 -075

KERI BURROUGHS          14152-010                 RANDY CARVER          53579-074

CRYSTAL BUSBY-          08770-046                 JAMES CARVER          25084-014
TETZLAFF
                                                  MELISSA CASEY         48834-074
ANTONIO BUSSIE          66847-01 9
                                                  SHARLENE CASH         33 128-064
RUBEN BUSTOS            47273-380
                                                  NORMA CASILLAS        52244- 179
DANNY BUTLER            19107-033
                                                  VLADIMIR CASTAN EDA   62039-0 1 8
SHAWN BUTLER            83619-083
                                                  ROLAND CASTELLANOS    62970-0 19
JOHN BUTLER JR          20040-01 8
                                                  RONALD CASTILLE JR    63882-280
MICHAEL BYERS           34932-058
                                                  DANNY CASTILLO        26 164-0 14
ERNESTO CABAN AS-       59340-408
TORRES                                            NELVING CASTRO        6955 1-066

YERITHZA CABAUATAN      64824-298                 DESHON CATCHINGS      47363-039

LYNN CADY               55388-380                 JOSE MORA CATES       17496-028

BRIAN CALLAHAN          8261 8-053                DWELLY CAULEY         69830-004

THOMAS CAMBIANO         28886-03 1                SEUI CAVAN            08947-030

PIO CAMPOS              093 1 4-089               PEDRO CAVAZOS JR      52624-080

ROSETTA CANN ATA        62780-0 1 8               OSVALDO CEBALLO       01241 - 104

XAVIER CARDONA          36123-380                 RAFAEL CEBALLOS-      06988-028
                                                  CASTILLO
LUIS CARIBE-GARCIA      16113-069




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Name                     Reg. No.                   Name                  Reg. No.

DOMINGO CEDANO-         59 126- 177                 NICHOLAS COLLINS     26482-034
MARTINEZ
                                                    MARLON COLLINS       05871 -041
ISRAEL CEDENO-          66258-050
MARTINEZ                                            RUSSELL COLLINS      05959-032
ROMAN CHAIDEZ-          1 7 137-424                 LEON COMBS           079 1 7-032
ALVAREZ
                                                    MICHAEL CONAHAN      15009-067
AMANDA CHAMBERLAIN      54101-177
                                                    BRUCE CONANT         25387-045
SHAUNTEL CHAMBERS       1 7381-027

                                                    HUN4BERTO            5041 1-069
KAWANA CHAMPION         7 102 1 -019
                                                    CONCEPCI ON-
NIGEL CHANDLER          32455-177                   ANDRADES
                                                    KARIN CONDON         08979-059
JAMES CHANEY            1 7746-032

                                                    RAYMOND CONLEY       11368-035
DONNIE   CHASTAIN       6046   1 -0 19

                                                    NOEL CONTRERAS       891 87-008
LIZA CHAVERA            84866-380
                                                    VANESSA COOPER       58397-0 1 8
JOSE CHAVEZ             07920-027
                                                    DEWAYNE COOPER       249 19-034
CARLOS CHAVEZ-          08285-063
LOZANO                                              CHERIE COPELAND      34593-045
JUAN CHAVIRA-           26392-078                   BRYAN COPELAND       55708-018
GUERRERO
MARCUS CISNEROS         5525 1- 1 77                JOSEPH COPELAND      16683-089

                                                    CHAYAN EE CORCINO-   52234-069
XAVIER CISNEROS         87026-280
                                                    SERRANO
EMMA CLARK              27724-078
                                                    MATTHEW CORDERO      09956-087
BERNARD CLARK           2771 5- 171
                                                    RAFAEL CORDERO       68437-066
ROBERT CLARK JR         10732-078
                                                    JARVOR COSSE         37473-034
NEIL CLARK              06923-032
                                                    JACORY COULTER       28564-078
KASIMU CLARK            49960-066                   CLARENCE             58238-380
GEORGE CLARKE           24708-052                   COUNTERMAN
                                                    HENDRICK COUSAR      23407- 171
NORMA    CLAUDIO        0 1722- 138

                                                    DONALD COX JR        49022- 1 77
TIMOTHY CLINE           08718-062
                                                    GARRY CRAIGHEAD      62952-380
BRADLEY CLOUGH          123 1 8-028
                                                    ZAN CRANDALL JR      17023-003
MARIAN CLUFF            92 132-379
                                                    WILLIAM CRANE        3 1603-00   1
MIKE COFFELT            42779-074
                                                    QUANTEZ CRIBBS       10735-029
GAYBBRELL COFIELD       53224-056
                                                    RACHEL CROWE         14291 -509
CLARENCE COHEN          43732-039
                                                    KACEY CROXTON        54049- 1 77
DALE COLBERT            63077- 1 12
                                                    RITA CRUN DWELL      44540-424
KEVIN COLEMAN           30836-076
                                                    RICHARD CRUZ         700 12-054
KEITH COLEMAN           09587-02 1
                                                    ANNA CUARTAS         15923- 104
VLADIMIR COLLAZO- 13775-069
FLORI DO                                            CHAD CURRY           00527- 120




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Name                     Reg. No.                     Name                  Reg. No.

JONATHAN CURSHEN        90293-054                     RAFAEL DIAZ-ALICEA    63755-018

SALAH DADO              458 16-039                    ALAN DIAZ-FELICIANO   50584-069

COURTNEY DAILY          25700-075                     JOSE DIAZ-MEDINA      16909-069

AUGUSTIN DALUSMA        71080-0 1 8                   JERRY DICE            18137-026

AARON DAN               94757-022                     CLINTON DICKERSON     101 13-078

MELVIN DANIELS          32900-      17 1              EARLIE DICKERSON      08369-380

ETHEL DANIELS           660 14-0 1 9                  JON DIRK DICKERSON    2492 1 -045

JAMIE DARBY             16934-002                     WALTER DIGGLES        25054-078

VIKRAM DATTA            64542-054                     EDWARD DINIARIA       16900- 1 04

PAUL DAUGERDAS          62444-054                     NATHANIEL DIXSON      16028-028

KENDRICK DAVENPORT      14089- 179                    KRISANDREA DOBBS      56495- 177

ARNULFO DAVILA          32490- 177                    JUAN DOM]NGUEZ        76727-004

ERIC DAVIS              3 1339-044                    FELICIA DONALD        94272-083

AMANDA DAVIS            522 1 7-074                   LAMON DONNELL         16879-078

MICHAEL DAVIS           55247-060                     RONALD DOTSON         52832-074

MARTEE DAVIS            3 1634-00      1              DARREN DOUGLAS        1692 1 -047

LISA DAVIS              14202-029                     RICK DOWDEN           09 1 30-028

KOBIE DAVIS             17745-026                     JACK DOWELL           05225-0 1 7

PIERRE DAWSON           20863 -424                    WILLIAM DOWNS         11 865-033

FEDERICO DE LA CRUZ     08369-379                     ROBERTA DRAHEIM       11325-090

MERCEDES DE LA PAZ      65423-298                     MARC DREIER           70595-054

DAVID DE LOS SANTOS     498 1 7- 177                  GORDON DRIVER         47270-048

NICHOLAS DEANGELIS      7 169 1 -004                  JOHN DRULLINGER JR    50200- 1 77

CHRISTINE DELACRUZ      20753-006                     PHOUMANO              27955-055
                                                      DUANGTAVILAY
GERARDO DELBOSQUE       16494-078
                                                      JOHN DUBOR            28044-479
OSCAR DELGADILLO        88249-479
                                                      CORRIE DUDLEY         28056-045
VINCENT DELGADO         27854-039
                                                      JADE DUGAN            17343-273
RODNEY DELOACH          048 16-06 1
                                                      CHAD DUNAWAY          15039-078
DAVID DEN4ATHEWS        11256-1 12
                                                      BRUCE DUNKELBURGER    97329-020
DONNA DEMPS             66889-018
                                                      TOMMY DUONG           21598-017
GUY DERILUS             94425-004
                                                      BARBARA DUPREY        69394-0 1 8
ANITA DESORMEAUX        17404-035                     RIVERA
EDUARDO DIAZ            3 130 1 -045                  RANDY DURAN           55401-177

RICARDO DIAZ            791 73-479                    WILLIAM DYER          52295-074

HECTOR DIAZ JR          04822-508                     GERARD EASILEY        71 989-279




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Name                     Reg. No.                  Name                   Reg. No.

NIELODIE ECKLAND        52863-509                  JOHANNY FELICIANO-     50771 -069
                                                   GONZALEZ
ROBERT EDWARDS          55683-018
                                                   FRANCISCO FELIX        65558-208
VERNON EDWARDS          28300- 171
                                                   HERIBERTO FELIX RUIZ   3 1715-009
BENJAMIN EDWARDS SR     3 1320-034
                                                   MELVIN FELIZ           163 14-054
VICTOR EHLERS           25357-052
                                                   SELICA FENDER          16834-059
GARY EISEN4AN           13633-059
                                                   BRYAN FERRER-          27465-055
MATTHEW ELDER           1704 1-408                 VAZQU EZ
VIOLET ELDRIDGE         57294-0 19                 TERI FIEDLER           46285-044

MICHAEL ELLIOTT JR      18076-030                  STEPHEN FIELDS         80657-083

RYAN ELLIS              07971 -036                 JESUS FIGUEROA         01 197-138

DARIEN ELLSWORTH-       7 1 967-066                ROLANDO FIGUEROA       62539-01 8
DAWAY
                                                   DANIEL FILLERUP        25270-052
RUDOLPH ENGEL           08084-059
                                                   DERRICK FINCHER        20 128-085
JOSEPH ENOX             41328- 177
                                                   STEVEN FINKLER         39327-053
ERIC EPSTEIN            16513- 104
                                                   NORRIS FISHER          41251-177
JUSTIN ERWIN            26283-058
                                                   JENNA FITZHUGH-        36732-034
CHRISTOPHER ERWIN       63427-050                  THOMAS
CINTHIA ESCOBAR-        50975-069                  TIMOTHY FITZPATRICK    24140-055
RAMOS
                                                   FABIAN FLEIFEL         57575-018
ALFONSO ESPARZA         75902-097
                                                   TERRY FLENORY          32454-044
HAROLD ESQUILIN-        49768-069
MON TAN EZ                                         PATRICK FLORANG        09860-029

EDUARDO ESTERAS-        47753-069                  GUSTAVO    FLORES      91742-05 1
ROSADO
                                                   MARGARITO    FLORES    41922-080
MICHELLE ESTEVEZ        55439-066
                                                   SHIRLEY FLORES         83175- 179
ENRIQUE ESTRADA         76531-   1 12
                                                   ALEXIS FONTAN EZ       66943-01 8
DANIEL EVANS            43012-044                  Nl EVES
RONALD EVANS SR         3 1084-0 18                DAMON FORBES           49337-019

TERRY EVELAND           15669-028                  WILLIAM FORD           11612-002

BRENDA EVERSOLE         16161-032                  KEITH FORD             67064-01 8

DAITWAUN FAIR           25880-052                  NIGEL FORDE            91 548-083

EDWARD FARLEY           61330-019                  MARSHALL FOSKEY        94 1 69-020

DAVID FARNSWORTH        16241 -059                 BRIAN FOSTER           59970-0 19

AVIOTN FARR             3 1852-009                 NATHAN FOSTER          17583-002

ANTWONE FARRAL          13864-028                  JOSHUA FOUNTAIN        05960-01 7

RONALD FAULK JR         43628-054                  MELISSA FOX            20767-045

ROOSEVELT FAZ           85345-079                  DAVID FRANCIS          38679-068




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Name                     Reg. No.                Name                 Reg. No.

MONICA FRAZEE           68730-298                COURTLAND GETTEL    60857-298

DEXTER FRAZIER          71019-019                ADAM GETTS          17474-027

BOBBY FROMAN            38833-177                DENNIS GIBBONS JR   47362-074

JERRY FRUIT             535 17-054               LC GILLS JR         30067-076

JAMES FRY               15927-04 1               GEOFFREY GISH       62 1 52-0 1 9

PEGGY FULFORD           3700 1-034               BYRON GLOVER        274 13-034

KATHY FUNTILA           06000- 122               ALEXIO GOBERN       15002-057

CALVIN FURLOW           60885-0 19               JAJUAN GODSEY       4396 1-060

ANTONIO GADDIST         28288- 171               TISHA GOFF          54112-074

KRYSTA GAINES           54427- 1 77              CARL GOLDEN         04099-095

WILLIAM GALLION         11492-032                WILLIAM GOLDSTEIN   66083-0 19

FREDERICK GANG          72630-054                JAMIE GOLLADAY      71 142-097

DANIELS GARCES          28327-078                SOTERO GOMEZ        91525-054

REYNALDO GARCIA         29332-479                LIDERRICK GOMEZ     33532- 171

JACQUELINE GARCIA       12667-09 1               BRYAN GOMEZ         70388-01 8
                                                 NEVAREZ
GABRIEL GARCIA          28966- 1 80
                                                 RANDY GOMILLA       14460-025
AMBAR GARCIA            571 52-380
                                                 DAN EL GONZALEZ     49687-069
MANUEL GARCIA           18857-030
ZUNIGA                                           ISAAC GONZALEZ      56372- 1 77

DENNIS GARCIA-          56897- 1 77              JOSE GONZALEZ       00727- 1 38
CATALAN
                                                 MARTHA GONZALEZ     56710- 177
NEYDIE GARCIA-PEREZ     20096-479
                                                 MARCOS GONZALEZ     8661 7-054
NOEL GARCIA-RIVERA      23 1 64-069
                                                 NORMA GONZALEZ      94484-380
MERRILL GARDNER         13729-046
                                                 DAVID GONZALEZ-     35448-069
JODY GARDNER            12401 - 104              PEREZ
RAMON GARIBAY           42552-280                ROBERT GOOD         32794-068

VICKI GARLAND           65459- 112               STEVEN GOODMAN      27355-009

RICHARD GARRETT         43830-112                WILLIAM GOODWILL    141 16-026

BABY GARRISON           22813-02 1               CLARENCE GOODWIN    42 1 29-074

TREMAINE GARRISON       67131-054                CLINTON GOSWICK     33728-177

KEVIN GARVIN            63886-019                GEORGE GRACE SR     05652-095

JAMES GARY              08922-379                DAMON GRAHAM        13787-014

HUMBERTO GARZA          80485-079                DANIELLE GRAVES     17929-030

JEREMY GASAWAY          109 10-028               MARCEL GRAVES       20408-043

AMBER GAUCH             55287- 177               LARRY GRAVES        35377-408

ALFRED GEREBIZZA        63 1 88-019              ANDREA GRAY         1576 1-076




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Name                      Reg. No.                 Name                   Reg. No.
SHERRY GRAY              05057-088                 BRANDON HARDERS       17362-029

JOHN GRAY                33954-058                 DAVID HARDY           14486-078

SHAWN GREEN              31359- 171                CYNTHIA HARLAN        63290-0 1 8

HENRY GREEN JR           42575-074                 MELISSA HARLESS       20400-084
                                                   CHRISTOPHER HARLESS   68123 -280
JAMIE GREEN              262 1 3-078
                                                   DANNY HARMON          10089-028
DAVID GREENBERG          59059-053
                                                   JOSHUA HARNED         32207-001
CHARLES GREESON          60784-0 1 9

                         05892-078                 SANDRA HARO           13202-479
RODRICK GRIMES
                                                   JAMES HARPER          33908- 171
MICHAEL GROVE            0781 1-002
                                                   CHARLES HARRIS        42637-379
JAMES GUERRA             36611-001

                         25713-479                 DONTAI HARRIS         70182-018
CLOYD GUILLORY
                                                   VICTORIA HARRIS       09002-025
TREMAYNE GUIN            64374-060
                                                   BOBBY HARRIS          46169-177
JEFFREY GUNSELMAN        01056-380
                                                   JIMMY HARTLEY         06 1 48-028
SAVANNAH GUTHERY         3 1479-064
                                                   MALCOLM HARTZOG       0239 1 -043
FRANK GUTIERREZ          07626-05 1
                                                   LAMONT HARVEY         5 1 237-039
SANTOS GUTIERREZ         601 07-097
                                                   JOHNNY HATCHER        31418-074
MARC GUYTON              3220 1 -034
                                                   LARRY HAWKINS         169 1 8-077
ERIC GUZMAN              72056-050
                                                   WOODROW HAYES         12732-035
LEGUSTER HACKWORTH       34685-001
111                                                JAMAL HAYNES          25575-017
ANDREW HAIR              54106-056
                                                   WILLIAM HEARN         17282-003
DAMON HAIRSTON           1 7753 -027
                                                   STEVEN HEBERT         30953-034
JAMES HALD               1 7 1 70-047
                                                   ROBERTO HECKSCHER     14400-111
HENRY HALL               35370-0 1 6
                                                   KATHRYN HELLEN        2 1 895-040
KRIS HALL                08407-063
                                                   ROBERT HELM           23 1 80-047
HARRISON HALL            47294-424
                                                   SHAQUAN HEMINGWAY     0281 5-509
JANET HALLAHAN           11 744-026
                                                   JEROME HENNESSEY      21 756-04 1
FRANZ HAMBRICK           16770- 1 79
                                                   JOHN HENOUD           25 198-083
FRANK HAMILTON           34162-171
                                                   WENDI HENRY           43511-074
LESLIE HAMILTON          07068-089
                                                   KYLE HENSON           20303-076
BUCK HAMMERS             08202-063
                                                   MARCELA HEREDIA       76424-097
JOHN HANCOCK             1434 1 -078
                                                   MICHAEL HERMAN        75 169-067
ASHLEY HANNA             28294-078                 ERNEST HERNANDEZ      32005-479
HUNTER HANSON            17369-059
                                                   PAUL HERNANDEZ SR     46860- 1 77
PETER HANSON             03640-04 1
                                                   SIRI A HERNANDEZ      14847- 1 04
AARON HARBOR             49351-177




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Name                      Reg. No.               Name                 Reg. No.

JOHNNY HERNANDEZ         52595-280               WAYNE HOLROYD        10096-007

MARCOS HERNANDEZ         07452-078               DAVID HOLT           50520- 1 77

LEONARD HERNANDEZ        91393-380               TIMOTHY HOLT         52097-074

GUILLERMO                16555-078               JON HOLT             12 1 72-04   1
HERNANDEZ
                                                 JACLYN HOOKER        48726- 1 77
RICK HERRERA             59037- 177
                                                 RALPH HOOPER         77365-054
PEDRO HERRERA            5 1600- 177
                                                 MICHAEL HORN         28838- 177
NELLY HERRERA            47398-008
                                                 WILLIAM HORTON JR    66940-479
ALEXANDER H EYING        17863-04 1
                                                 JOHN HOSKINS         17570-032
RAYMOND HIBBERT          70563-066
                                                 GEORGE HOUSER        60799-0 19
JERRY HICKS              27657-078
                                                 GEORGE HOUSTON       16032-0 1 8
JAMES HILL               06343-088
                                                 JAMES HOWARD III     04067-0 1 7
BRANDON HILL             52282-074
                                                 FRED HOWARD          07757-089
JOHNNIE HILL             83 1 87-083
                                                 GILBERT HOWARD       12704-032
AMY HILL                 68340-479
                                                 SHELDON HOWARD       92565-083
PHILLIP HILL             56433-01 9
                                                 STEPHAN HOWARD       169 1 2-027

TIMOTHY HILLIARD         43262-424
                                                 MICHEL HUARTE        824 1 1-004
TERRANCE HILTON          09034-095               MARC HUBBARD         11465-058
TED HILTON SR            33634-045
                                                 CHARLES HUBBARD      69949-0 19
WILLIAM HILTS            24063-052
                                                 KENNETH HUBBARD      101 19-043
SIDNEY HINES             11120-030
                                                 MARVIN HUDGINS       47239-039
CLAUDIA HIRMER           07035-0 1 7
                                                 SANCHEZ HUDSON       23300-058
MARK HOBBY               4944 1-01 9
                                                 RANDY HUERTA         204 1 8-380
TERENCE HODGE            32479-   17 1
                                                 JAMES HUFF           35783-044
DERRICK HODGE            42709-074
                                                 WILLIAM HUFFMAN      49016- 177
THOMAS HOEY JR           92 147-054
                                                 DARWIN HUGGANS       345 1 3-044
RICO HOGAN               48458-044               TORREAN HUGHLEY      29902-03 1
STEPHANIE HOLBROOK       17997-029
                                                 RAVON HUMPHREY       51358-039
BRIAN HOLLAND            57325-177
                                                 TINA HUNT            17225-035
EDWARD HOLLINIAN         79670-054                                    39141-177
                                                 ALEXIS HUNTER
MARCUS HOLLIMAN          65049-0 1 9
                                                 CHRISTOPHER HUNTER   44200-061
BERNARD HOLLINGER JR     95775-020
                                                 BOBBY HUNTER         16007-028
CHARLES HOLLIS JR        978 18-020
                                                                      22362-04 1
                                                 MOHAMED HUSSEIN
SAMUEL HOLLOMAN          30964-057
                                                 MATTHEW HUTCHESON    14620-023
LAWRENCE HOLMAN          28077-01 8
                                                 NORMA IBARRA CANTU   94793-380
KEITH HOLMES             00224-509




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Name                     Reg. No.               Name                 Reg. No.

DANA ICE                363 14-180              WALTER JOHNS         37369-019

JESSICA IDLETT          56827- 177              PATRICK JOHNS        20366-043

JESUS IGLESIAS          91860-280               COURTNEY JOHNSON     72960-0 ] 9

GODREY ILONZO           63976-019               DORIAN JOHNSON       43811-074

LESLIE INMAN            85901-379               CORDELL JOHNSON      19770-035

REGINALD IRBY           69457-066               TIMMY JOHNSON        35692-044

CARLOS ISBY             24743-009               TIMOTHY JOHNSON JR   14568-479

AMER JABIR               17294-424              RONALD JOHNSON       2076 1-04 1

REGGIE JACKSON          45833-039               MICHAEL JOHNSON      13861 -028

HOWARD JACKSON          54870-039               GEORGE JOHNSON       78855-083

CHARLES JACKSON         29263-009               DEMETRIS JOHNSON     19482-033

TOMMY JACKSON           2 1 198-017             DAJ AN AE JOHNSON    21347-043

DANNY JACKSON           39094-068               KELLY JOHNSON        60777-066

FREDERICK JACKSON SR    47796-039               CALVIN JOHNSON       61 977-066

TIMOTHY JACKSON         20364-043               AARON JOHNSON        66942-066

THERESA JACKSON         08478-045               WILLIE JOHNSON       12498-002

CHRISTOPHER JACKSON     47079-074               MONYET JOHNSON       20376-043

DAVID JACKSON           08547-068               JAMES JOHNSON        52 164-074

IKEISHA JACOBS          59274-056               ADAM JOINER          78587- 112

JOSEPH DEE JACOBS       27752- 171              JUSTIN JONES         29 162- 179

MICHAEL JACOBS          65325-056               MARCOS JONES         18114-043


RAYMOND JACQUES III      17726-o02              NATHANIEL JONES      437 1 8-037

CELSO JAIMES-MEDERC) 4889 1- 177                TRAVELL JONES        18500-   104


DEVINCIO JAMES          27775-055               CURTIS JONES         55887-019

KENNETH JAMES            1   0402-002           MATTHEW JONES        24662-083

TAMMY JANICEK           54253- 177              RONALD JONES         25678-044

MARVIN JANKEE           27728-058               STEVEN JONES         30269-048

LINDA JARAMILLO         0602 1-08 1             ANTWAN JONES         40833-424

JUAN JASSO              59988-018               RAYMOND   JONES      1 168 1-067


ROBERT JAYNES JR         12376-028              BOBBY JUSTICE        097 1 5-032

EDWARD JEFFERSON        20644-045               STEVIE JUSTUS        15652-084

COLIN JENKINS            71907-279              CARL KAZANOWSKI      04953- 122

SHARON JESSEE            53734-074              EMMANUEL KAZEEM      76888-065

MIGUEL JIMENEZ           18429- 180             MEAGAN KEEL          035 18-480

MORRIS JOHNS             72464-280              BILLY KEEN           1 8754-084




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Name                      Reg. No.                 Name                Reg. No.

DEANGELO KEITH           63306-037                 KENDRICK LATHAM     05325-025

ERIC KELLEMS             1 0236-025                ANDREW LAVIGNE      26043-052

BARBARA KELLEY           1 673 1 -028              MARTIN LAWRENCE     06277-029

SAMUEL KELLY             03219-112                 STEPHANIE LAZA      54307- 1 77

JACK KELLY               0448 t -0 1 7             ANTHONY LE          17627-003

JEROME KELLY             30467-068                 HECTOR LEDESN4A-    53542-069
                                                   CARMONA
DARRON KENNEDY           27994-078
                                                   RODOLFO LEDEZM A-   60548- 1 79
DAVID KENNEY             065 1 3-040               HERRERA

BOBBY KHABEER            26500-009                 MARLON LEE          06645-068

ANGELA KILPATRICK        16777-003                 JOVON LEE           64333-037

ISSAC KING               16744- 1 04               NICOLE LEEDY        4989     1- 177


RODNEY KING              03025-029                 MIGUEL LEGARDA      08707-027
                                                   URRUTIA
MATHEW KINNEER           18282-030
                                                   MICHAEL LENTSCH     41789-044
PERETZ KLEIN             86086-054
                                                   JOSEPH LEONARD      56345-056
DAVID KLINE              2 1 297-04    1
                                                   SANTO LEONE         27 1 52-379
RICHARD KNEE SR          18153-026
                                                   NICOLE LESCARBEAU   01164-138
DELORES KNIGHT           6 1 056-060
                                                   DAVID LEWALSKI      64 12 1-054

DARYL KNOTTS             t 5336-509
                                                   LISA LEWIS          12954-089
MATTHEW KOLODESH         67829-066
                                                   MARTIN LEWIS        13406-047
ANTHONY KOON             5 1 666-424
                                                   TORRY LEWIS         28825-050
CYNTHIA KOONS            11336-029
                                                   PHIL LEWIS          22737-078
JULIE KRONHAUS           67738-0 1 8
                                                   JAMES LEWIS JR      16240- 1 79
MARK KUHRT               99 1 40- 1 79
                                                   DAVID LEWISBEY      45353-424
JACIE KYGER              16921 -084
                                                   JESSE LINARES       06009-027
SARKIS LABACHYAN         29591 -047
                                                   TIMOTHY LINDSEY     15723-077
DONALD LAGUARDIA         87596-054
                                                   LEE LINDSEY         28028-     17 1

CHRISTOPHER LAMAR        63731 -019
                                                   ARTIS LISBON        6 1947-01 9
KESHIA LANIER            15355-002
                                                   ANDRE LLOMPART-     49548-069
AMBER LANPHEAR           17503-046                 FILARDI

JOSE LANTIGUA            29934-058                 JAMES LLOYD         60995-112

JERONIMO LARA-           60294-01 8
                                                   ALEX LOCKLEAR       56573-056
VAZQU EZ                                           GREGORY LOLES       18551-014
RONNIE LARKINS           09781 -033
                                                   KATHY LOPEZ         72202-01 8
GEORGE LARSEN            7289 1 -097
                                                   DALIA LOPEZ         28 144-479
CLAUDIS LASSITER         42543-037
                                                   GILBERT LOPEZ JR    99141- 179
GIOVANNI LATERRA         19482- 1 04




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Name                      Reg. No.                  Name                  Reg. No.

ROGELIO LOPEZ-           69633-066                  MARCOS MARTINEZ      14653-002
BATISTA
                                                    XAVIER MARTINEZ      76536-380
ALEXANDER LOPEZ-         49549-069
MON TAN EZ                                          JOSE D MARTINEZ      52574-054
FRANCISCO LOPEZ-         63246-050                  WILLIAM MARTINEZ     27147-0 16
N EG RON
                                                    RAMIRO MARTINEZ JR   09 167-479
CARLOS LOPEZ-ORRI A      50602-069
                                                    ALFONSO MARTINEZ-    46754-008
BLIA LOR                 16850-089
                                                    HERNANDEZ
CHRISTOPHER LORICK       57162-177                  CARLOS MATEO         67609-054

ANTHONY LOUIS            48400-0 1 9                MAGGIE MATLOCK       1435 1 -025

NESLY LOUTE              62888-0 1 8                BRENT MAURSTAD       13076-059

ELAINE LOVETT            49530-039                  STEPHEN MAYES        32672H074

GEORGE LOWMASTER         32899-068                  CLARK MCALPIN        36962-034

OMAR LOZA                09168-027                  RONDALE MCCANN       16276-032

ROBERT LUSTYIK JR        9 1 91 2-054               MICHAEL MCCOY        32480- 1 77

ELIJAH MACK              65368-037                  ALFONZA MCCOY        55563-056

ALONZO MACON JR          14323-078                  WALLACE MCCREE III   08752-002

ROSALINA MADRIGALES      11 938-308                 RICKEY MCCURRY       1806 1 -074

SERAFIN NIAGALLON        70055-097                  ALEX MCDOWELL        17079-043

DON MAIGARI              65 1 16-060                GLADSTONE MCDOWELL   12204-03 1

SILOMIGA MALAE           88956-022                  WILLIAM   MCGEE      29299- 1 79
JOSE MALDON ADO-         49404-069                  MARDELL MCGEE        3 1 023-044
VILLAFAN E
                                                    TIMOTHY MCGINN       19470-052
DANIEL MALEY             1529 1 -032
                                                    JUSTIN MCGINNIS      90850-083
AHMAD MANN               263 1 9-050
                                                    BRENDA MCGINNIS      758 16-097
STEPHEN M ANNESS         48609-074
                                                    TIMOTHY MCINTOSH     70995-0 1 8
MARIO MAREZ              80440-279
                                                    MICHAEL MCINTOSH     07958-029
RICKY MARIANO            15955-04 1
                                                    LARRY MCKAY          10771 - 173
KATHRYN MARKLE           55921 - 177
                                                    GREGORY MCKNIGHT     46755-039
CHRISTY MARSHALL         54366-074
                                                    BRIAN MCKYE          26802-064
ANDRAY MARTIN            0960 1 -04 1
                                                    MATTHEW MCMANUS      68250-066
LISA MARTIN              15886-028
                                                    DAVID MCMASTER       11   853-059
HERBERT MARTIN           33656-057
                                                    PATRELLE MCNAIR      20907-043
GARRY MARTIN             26238-01 8
                                                    TORRANZA MCNEAL      00868- 1 20
KEITH MARTIN             95629-280
                                                    NIARLAN MCRAE        14632-040
CHARLIE MARTIN           03452-043
                                                    JAMES MCREYNOLDS     09820-003
GERARDO MARTINEZ         44 1 79-380
                                                    GINA MEDINA          03015-093




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Name                      Reg. No.                 Name                   Reg. No.

WILLIAM MEDLEY           39650-044                 JAMES MOON            15485-022

JASON MEDLYN             570 1 5-056               MEGAN MOORE           53369-074

TONY MEEKS               44256-074                 JONAIR MOORE          36376-013

HERZEL MEIRI             91160-054                 JAMES MOORE           19644-009

RICHARD MELOCCARO        2 1683-047                BRIAN MOORE           10903-028

ROLANDO NIENCHACA        87 199-280                JOE MOORER            58542-004

MINERVA MENDEZ           48351 - 177               SAMANTHA MOORMAN      28087-078

JESSE MENDOZA            05890-041                 DANNY MORA            17852-280

ELIZABETH MENDOZA        96954-079                 CHRISTIAN MORALES     15498-028

ALEJANDRO MENDOZA        066 15-033                FRANK MORALES         46352- 1 77
JIMENEZ
                                                   ERNESTO MORALES-      39270-069
JEFFERY MICHELLI         27705-034                 CASTRO
MICHAEL MIKESELL         1 1 834-029               GARY MORELAND         20283-086

AMANDA MILBOURN          46327-044                 SABRENA MORGAN        26986-045

SEYMOUR MILES            28370-055                 RODRIGUEZ MORGAN      63223-037

HARRY MILES              17768- 112                SONIA MORGAN          38103-068

GEORGE MILLER            3 1 622-076               ASHLEY MORRIS         523 1 6-074

STACY MILLER             42470-074                 NATHANIEL MORRIS      27603-045

APRIL MILLER             23761-171                 GLADSTONE MORRISON    47993- 177

DAISY MILLER             00850- 1 04               JACQUELINE MORRISON   47995- 177

JERRY MILLER             15 165-043                RUBIN MORROW          75859-112

JACQUELINE MILLS         289 1 8-009               RICHARD MOSELEY       3 1 267-045

GEARY MILLS              16878-078                 MICHAEL MOSES         82384- 1 98

ROBERT MINOR             04582-043                 PHILISS MOSHER        72448-097

MICHAEL MINOR            31389-034                 EDWARD MOSKOP         09 1 59-025

SCOTT MISERENDINO SR     84246-083                 DANNIE MOSLEY         186 1 9-033

RUBEN MITCHELL           10954-023                 DOUGLAS MOSS          00806- 1 20

TOBIAS MITCHELL          1 1573-039                KRISHNA MOTE          68377-067

WILLIAM MOATES JR        14264-0 1 0               TAMER MOUMEN          90928-083

MICHELLE MOBLEY          49753- 177                MATTHEW MOWERY        269 1 7-05 1

MICHAELA MONCRIEF        57905- 1 77               WALTER MUHAMMAD       76406- 112

DANIEL MONSANTO          77708-054                 ALICIA NIURFIELD      57381- 177
LOPEZ
                                                   MICHAEL MURPHY        15782-424
JUAN MONTALVO            15669-479
                                                   TIMOTHY MURPHY        43267- 1 77
ANDRE MOODY              09230-028
                                                   JOHN MURPHY-          37950-069
MARCUS MOODY             204 13 -043               CORDERO




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Name                      Reg. No.                  Name                  Reg. No.

DONALD MYERS             09 1 39-028                UCHECHI OHANAKA      13320- 1 79

RHONDA MYRICK            2 183 1-032                PATRICK OKROI        17044-273

MIYOSHIA NANCE           39117-177                  MASON OLSON          17204-273

ARTURO NATERA            7 1460-080                 CHRISTOPHER OMIGIE   66007-01 9

COLIN NATHANSON          29308-112                  RALPH O’NEAL III     1 8792-075


GUILLERMO                61801-112                  CHARLES O'NEIL       6 1036-004
NAVARRETE JR
                                                    JOSE ORELLANA        91380-083
YAN41L NAVEDO-           36027-069                  MONTALVO
RAMIREZ
                                                    FELIX ORTIZ-         50607-069
CARLOS NAZARIO-          69924-0 1 8                RODRIGUEZ
LOPEZ
                                                    HECTOR ORTIZ-        68824-308
JUAN NEGRETE            26585-380                   TARAZON SR
JESUS NEGRON-ROSSY      433 17-069                  CHARLTON OSBOURNE    23630-055

JAMES NEKVASIL JR       043 1 7-027                 OGIESOBA OSULA       44879- 1 77

DEXTER NELSON            11964-042                  RUSSELL OTT          46191-424

JONATHAN NELSON         34556- 177                  CRAIG OTTESON        54711-177

BENJAMIN NEWMAN         333 13-045                  DONALD OVERFIELD     14030-067

JOHN NEWTON             30965-044                   CRUZ OVIEDO          16368-480

BRIAN NEWTON            60572-0 1 8                 GAIL OWENS           55119-018

MANUEL NICASIO          833 16-380                  RACHEL PADGETT       20200-02 1

MATT NICKA              01952- 122                  LISA PAGE            22267-026

DARYL NICKERSON         29444-057                   MICHAEL PAHUTSKI     12411-058

SHARLEEN NICKLE         327 1 7-064                 CYNDY PALMA          6397 1 -380

SHERITA NICKS           85909-083                   MYRNA PARCON         49681-177

CHRISTOPHER NIETO       09256- 1 22                 THOMAS PARENTEAU     67736-061

ROBERT NIMOCKS          57045-039                   RONALD PARHAM        30548-076

MARK NIX                48352-074                   DARNELL PARKER       2208   1 -0 1 6


GARY NOLEN              09762-062                   WALIS PARRA-REYES    1 8260-02     1


GEORGE NOONAN           04248-036                   BABUBHAI PATEL       46049-039

RODRIGUEZ NORMAN        9 1 4 1 9-083               MANUELA PAVON        50607- 1 77

LARRY NORQUIST           179 1 7-273                SPENCER PAYNE        71685-066

KRISTIN NORRIS          22208-026                   JAMES PAYTON         03490-033

JOSE NUNEZ              43507-0 1 8                 ROSA PAZOS CINGARI   60903-01 8

ADRIAN NUNEZ            65615-280                   JUAN PECINA          97459-020

QUEREN-HAPUC OCHOA-     75376-408                   CAROL PEDERSON       77852- 112
ROMERO
                                                    GEORGE PEN A         67821 -018
WILLIAM OGBONNA         93445-083
                                                    JULIO PENA           30941 -379




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Name                      Reg. No.                 Name                    Reg. No.

KARON PEOPLES            63608-037                 RON PRUITT              500 15-039

BERNARDO PEREZ           37097-086                 ROBERTO PULIDO          76825-004

LUZ PEREZ DEMARTINEZ     15968-049                 DAVID QUINTANA          15904-028

WILLIAM PERRY            26474-077                 VICENTE QUIROZ          9 1 208-308

ROBERT PERRY             09845-028                 RICHARD RACH III        14859-088

DAVID PERRY              30853-009                 CHAD RAGIN              68352-004

JOSE PERU                50110- 177                SAIED RAMADAN           39093-083

DIONE PETITE             12611-003                 HENRY RANIER            17787-032

SEAN PETRIE              55543-039                 LILLIANE RAMIREZ        69571-112

HUNG PHAN                56613-177                 DAVID RAMIREZ           30333-279

RODNEY PHELPS            21576-032                 ROBERT RAMSEUR          53900- 1 77

JENNIFER PHILLIPS        83099-080                 EPHRAIM RAMSEY          08266-067

SHAWANNA      PHIPPS     33777-058                 GREGORY RAND            38641- 177

ONEIDA PICASSO           50205-177                 GEN A RANDOLPH          32288-171

NELSON PICHARD-REYES     6542 1-053                FLINT RATLIFF           16268-   17 1


CLAUDIA PIEDRA           4 1 545-479               DEBRA RATLIFF           17546-280

JUAN PIMENTEL            5 1 088-408               JOHNNY READER           17905-078

ERICK PINERO-ROBLES      5065 1-069                VENTERI A REASON        13067- 104

JOHN PIPKIN              64455-056                 TAMIR REAVES            76735-066

MATHIAS PIZANO           08586-030                 DENISE REDMAN           27330- 1 80

RICHARD PLATO            726 1 9-079               DARA REDMOND            17862-029

GREGORY PODLUCKY         30494-068                 JOSEPH REEDER-SHAW      56147-039

DUSTIN POE               34527-00 1                DAVID REESE             52 139-066

JULIEN POLK              24638-11 1                FREDERICK REEVES        25040-009

RAUL PORRAS-ACOSTA       10229- 180                ZEN AIDO RENTERI A JR   69119-1 12

ROBERT PORTER            15875-075                 SARAH REYES             05783-095

KEVIN PORTIE             17127-035                 MAYRA REYES             57582- 1 77

ISHMI POWELL             69585-066                 CRYSTAL REYES           24740-280

CLISTY PRATT             55423 - 177               DILEAN REYES-RIVERA     39927-069

MELISSA PRESTON          1 1 892-480               MARQUIS REYNOLDS        67705-060

JOAN PRICE               20402-02 1                APRIL RICE              18201 -026

JEREMIAH PRIDE JR        77002-06 1                GALLOWAY RICH III       71714-019

DEVANTE PRIOLEAU         32563-171                 RONALD RICHARD JR       0238 1-095

EARL PRITCHARD           3042 1-076                MICHAEL RICHARDSON      70991-019

HARRY PRITCHETT          42565-074                 ROGER RICHARDSON        08602-028




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Name                     Reg. No.                 Name                  Reg. No.

KIKO RICHMOND            85556-083                JOSEPH ROHE JR       17004-003

JENNIFER RICHMOND        98686-379                OMAR ROJAS           57547-379

THOMAS RILEY             24 1 86-044              BARBARA ROJAS        14438- 104

JAMES RISHER             19358-018                BLANCA ROJO          27546-045

TOBIAS RITESMAN          1736 1-273               ANSWAR ROLLINS JR    07333-025

LUIS RIVAS              48463-004                 ROSA ROMAN           27787- 1 80

PABLO RIVERA            05914- 122                JUAN ROMAN-POLANCO   75699-067

JULIO RIVERA             70625-097                RICHARD ROSA         201 26-006

LUIS RIVERA-PARES       4967 1-069                FRANCISCO ROSALES    59027-280

MICHAEL RIVERS           82085-053                HECTOR ROSARIO-      39556-069
                                                  RIVERA
GERALD ROBERSON          17546-02 1
                                                  EVELIO ROSARIO-      4976 1-069
ONEAL ROBERTS           64117-053                 ROSADO

DJAMIL ROBERTS           15965-028                CHRISTOPHER ROSE     14090- 1 79

LENA ROBERTS            51332-074                 ROGER ROUSSEAU       03652- 104

ANTHONY ROBERTS         57884- 177                MICHAEL ROYAL        5 134 1 -074


QUINCY ROBERTS           1562 1-040               HENRY ROYER          25268-111

STEVEN ROBINSON          1 1916-087               DONACIANO            783 1 6-380
                                                  RUBALCABA-MIJAREZ
MARIA ROBLES            44739-0 1 3
                                                  SHAWNA RUBY          18777-030
RANDY ROCKHOLT           14025-027
                                                  MICHAEL RUDDELL      55997- 1 77
CYNTHIA RODRIGUEZ       28803-03 1
                                                  ANTHONIO RUEDA-      19862-111
JENNIFER RODRIGUEZ       15791-379                AYALA

RAFAEL RODRIGUEZ        95341 -380                BRENDA RUEHLOW       17543-029

MARIO RODRIGUEZ         52813-180                 FERDINAND RUIZ       59030-066

STEPHANIE RODRIGUEZ     49750- 177                ANTONIO RUIZ         61 667-004

RUBEN RODRIGUEZ JR      20243-480                 MARIBEL RUIZ         26302-078

JOE RODRIGUEZ            10610- 179               WILLIAM RUNION       54 165-074

ALLAN RODRIGUEZ-        44365-069                 MEERA SACHDEVA       16240-043
CRISPIN                                           ISIAH SADLER         89404-053
CLARA RODRIGUEZ-         1 5866-032
                                                  JUSTIN SAIN          53 137-074
IZNAGA
STEPHANIE RODRIGUEZ-    66055-408                 SUSAN SALANE         37270-034
VERDUGO
                                                  WILLIAM SALES SR     15035-056
BUFORD ROGERS           0 1 869-027
                                                  SANTOS SALINAS       58320-380
ALFONIZA   ROGERS       09823-003
                                                  SANTA SALINAS        71389-479
KENNETH ROGERS           18196- 104
                                                  SANTIAGO SALINAS     11962-018
JEREMIAH ROGERS         96309-020
                                                  GARTH SALKEY         86 17 1-083
JOHN ROGERS             21111-045




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Name                     Reg. No.                 Name                  Reg. No.

GREGORY SALLEE           19573-033                MANUEL SERRATA        19425- 179

&ANDON SALLIS           044 1 6-063               SUSANA SERRATO        16246-059

BARRON SALTER            14237-003               NEVIN SHAPIRO          61311-050

MICHAEL SAMANIEGO       35329- 177                KINZEY SHAW           15956-059

ALLYSSA SAMM            31619-045                 ASHLEE SHAW           00255- 120

JAIME SANCHEZ           06704- 1 04               RICHARD SHAW          56956-019

MAGGIE SANDERS          33230-058                 JOSEPH SHAYOTA        50260-298

PAUL SANDERSFELD         17512-273                MAQUEL SHELBY         20067-035

BERNARDO SANTANA        508 1 6-039               CURTIS SHELL          16837-043

JOHN SANTOS              70462-054                SCOTT SHELLEY         07 1 95-509

RAFAEL SANTOS           26932-050                 BROCK SHELLMAN        16958-027

BENITO SARABIA          64868-079                 JOSEPH SHERESHEVSKY   35857-054

DALTON SARGENT          2 1 769-026               SAFARA SHORTMAN       17 1 07-046

ARNULFO SAUCEDA          55692- 177               JONATHAN SHOUCAIR     21591-112

CARLTON SAYERS          26948-078                 KENNETH SHOULDERS     47293-424

MANUELE SCATA           96802-038                 ANTONIO SHUFFORD      19657-056

JOSEPH SCHABOW           19892-033                RICKY SHULL           13572-025

DAVID SCHAFFER          46423-044                 CRISTIAN SIBERIO-     76037-066
                                                  RIVERA
MICHAEL SCHLAGER        66734-066
                                                  RACHEL SIDERS         68023-097
JAMES SCHNEIDER          16646- 1 04
                                                  ERIC SIERRA           59046-066
ANGLE SCHUEG             72344-067
                                                  TIMOTHY SIMMONS       15682-002
PHILLIP SCOTT            31131-001
                                                  EVONNE SIMMS          58983- 177
DARRYL SCOTT             62361 -037
                                                  TEDDY SIMS            07449- 1 04
RANDALL SCOTT            57796-019
                                                  GEMAL SINGLETON       7 1 034-050
ZACHARY   SCRUGGS        16320-028
                                                  CHERYL SINGLETON      69550-019
TIMOTHY SEABURY          11910-003
                                                  DUANE SLADE           36995-280
CLAY SEALS JR            52544-074
                                                  JERIEL SLAY           28305-055
JOANNE SEELEY            42801 - 177
                                                  ROCKY SLOAN           17722-029
RONNIE SEGER             14631-010
                                                  RUDOLPH SMALL         64572-060
JOSE SEGOVI A            35342-080
                                                  CORDNEY SMITH         1 1 899-030
GARY SELLERS             1 5994-028
                                                  EUGENE SMITH III      54978-039
JAYMIE SELLERS           46028- 1 77
                                                  PATRICK SMITH         63919-037
CESAR SEQUEN             67973-01 8
RODRIGUEZ                                         DUSTIN SMITH          35801 -001

RALPH SERGO              15541- 104               KEVIN SMITH           30323-076

JUAN SERRANO-NIEVES      50078-069                CHRISTINA SMITH       709   1 8-0   19




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Name                     Reg. No.                  Name                   Reg. No.

JOHN SMITH              08708-028                  PAMELA TABATT         4 1 795-044

WILLIE SMITH III        97911-020                  TERRY TAKINIOTO       55462-048

PATRICIA SMITH SLEDGE   63764-112                  TERRENCE TALIFERRO    11362-026

JAMES SNOWDEN III       24803- 171                 SALVADOR TAM AYO JR   69589-280

BELKIS SOCA-            67590-01 8                 AYLWIN TAN            99187-198
FERNANDEZ
                                                   EVERETT TARR          11305-028
ABDEL SOLIMAN           67808-053
                                                   STEVEN TAYLOR         26276-086
KENNETH SOLOM AN SR     61113-018
                                                   BARRY TAYLOR          32452-058
CURTIS SOMOZA           43619- 112
                                                   QUINCY TAYLOR         63093-037
EGLAEL SOTO             276 1 5-078
                                                   OMAR TEAGLE           60508-066
SUHEIDY SOTO-           72848-067
CONCEPC ION                                        KEELEON TENNARD       73012-279

ADRIANO SOTOVIAYOR       193 1 2-050               BRADLEY THAYER        16800-273

MARK SPANGLER           42280-086                  AMBER THIELE          40256-044

JASMINE SPENCE          54863-177                  JACKIE THIELEN        18774-030

STEVEN SPENCER          23545 -055                 MICHAEL THOMAS        1743 1-027

KELLY SPINKS             15730-028                 CRYSTAL THOMAS        27832-078
REBECCA SPINLER          19680-023
                                                   LEROY THOMAS          15993-028
COLIN SPOTTED ELK        10049-273
                                                   JAYCIE THOMAS         20827-043
DEON STEAVE             33806-068
                                                   DAMIEN THOMAS         58328-037
ERICA STEFFENS          49497-048
                                                   DEBORAH THOMAS        20033 - 104
SHANE STEIGER           32746- 177
                                                   TARA THOMASON         33906- 171
SHAWNELL STENGEL        29509-03 1
                                                   DANNY THOMPSON        25582-076
EVERT STEPHEN           03 103- 104
                                                   THERON THOMPSON       5 108 1-056

MATT STEWART            4201 8-039
                                                   DONALD THOMPSON       25611-509
JAMES STEWART-          49767-069
                                                   WILLIAM THOMPSON      66065-056
CARRASQUILLO
CYNTHIA STIGER          44137- 177                 QUENTIN THOMPSON      26 134-044

DAVID STOCKS             70935-01 9                GREGORY THOMPSON      2 1 460-043


CLINTON STOWERS          70075-0   ]9              DEVON THOMPSON        64549-037

SHALIEK STROMAN          72372-067                 SHAHEED THOMPSON      83286-004

KENYA STRONG            69530-0 1 8                DIANE THOMSEN         17293-273

RODERICK STRONG          14725- 171                MURRAY TODD           66088-056

MICHAEL SUBLETT          15853-028                 STEVEN TOMERSHEA      10489-084

MARCUS SULLIVAN          18239-026                 DAVID TONEY           69707-066

DUSTIN SULLIVAN          17459-030                 TONYA TOPEL           32708-045

CHRISTOPHER SWARTZ      24404-052                  ROBERT TORRES         64789-056




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Name                     Reg. No.                Name                   Reg. No.

PATRICIA TORRES         83827-380                THOMAS                093 10- 122
                                                 VASCONCELLOS
OLGA TORRES-SOREANO     60 120- 1 80
                                                 JUSTIN VASEY          18208-030
CARLTON TOWNS           51382-039
                                                 JESUS VAZQUEZ         14275-018
ERIC TOWNSEND           00875- 120
                                                 ALFONZ VEI            16191 -049
MILLICENT TRAYLOR       54745-039
                                                  SANTIAGO VELIZ       50003- 1 77
RANDALL TREADWELL       94385-198
                                                  FRANK VENNES JR      05 123-059
RAMI RO TREVIZO-        42020-05 ]
GRAN IL LO                                        DAVID VIGIL          75930-097

DALTON TRU AX            15179-010                FRANK VILLA          067 17- 1 96

JAVIER TRUJILLO         80563-298                 KEITH VINSON         27369-058

MICHELLE TRUONG         69235-097                JASON VOTROBEK        62966-0 1 9

EMMITT TUCKER            19752-085                JOHN WAKEFIELD       15428-002

ANDREW TUCKER-           1 6605-029               SALVADOR WALKER      675 1 5-098
MORENO
                                                  TIFFANY WALLACE      26333-075
CRYSTAL TUNNING         96989-004
                                                 NANCY WARD            23259-077
ANGELICA TUPPER          154 1 7-033
                                                  JAMES WARD           54604-074
JAMES TUREK              148 1 0-032
                                                  LAUREN WARD          00802- 1 20
TORRENCE TURNER         2658 1 -009
                                                  JAZZM AN WARREN      19736-033
JAMES TURNER             141 54-002
                                                  LEE WATKINS          19768-035
TIMOTHY TYSON JR        88269-020
                                                  CLARENCE WATSON JR   19125-033
CARRIE TYSON             12126-056
                                                  JAY WATSON           46768- 1 77
MICHAEL URBAN           55560- 177
                                                  EDWIN WATSON         37363-034
BALNIORE URBANO         47582-424
                                                  TERESA WATSON        3 198 1-064
KAVEH VAHEDI            62844- 112
                                                  ROBERT WATSON        12912-ZIg
MOSES VALDEZ            3 1 389-064
                                                  KURT WAYNE           39857- 177
ERIC VALDEZ             3 1390-064
                                                  GREGORY WEBB         47 129-424
SIGIFREDO VALDEZ        3 1392-064
                                                  BOBBY WELLS          49355-048
GABRIELLA VALDEZ        30064-047
                                                  PERRY WELLS          86769-054
JOSE VALDEZ             90547-380
                                                  DAVID WELLS          53664-074
JESSICA VAN DYKE         50378-044
                                                  MICHAEL WELLS        2662 1 -044
CHARLES VAN ATTA         12652-028
                                                  KIM WESLEY           88707-020
WILLIAM VANATTI          1751 1-029
                                                  DENNIS WESTBROOK     21 560-045
CRYSTAL VARA             89830-380
                                                  JOHNNY WHITE         45312-177
ALAN VARGAS-             75863-408
GALLEGOS                                          AUNDRAY WHITE        76026-054
GOODWIN VARGAS-         46602-069                 CANDACE WHITE        91235-083
GONZALEZ
                                                  TIMOTHY WHITE        19254-097




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Name                     Reg. No.                 Name                   Reg. No.

DEMOND WHITE            46461 -074                FREDRICK WILLIAMS     21 106-017

LAWRENCE WHITE II        33927-057                SHAWN WILLIAMS        59172-0 1 8

TRAVIS WHITE             73 1 71-279              AALIYAH WILLIAMSON    2056 1 -043

CHARLES WHITE           40355-424                 KNOGS WILLS           2774 1 -078

TONY WHITE EVERETTE      654 17-056               ALDEN WILSON          16326-046

DARIUS WILLIAM          27904-078                 JOHN WILSON           57046-0 18

REBECCA WILLIAMS         21580-084                RICHARD WIMBLEY       3 15 15-074

DAVID WILLIAMS           56324- 1 77              PEDRO WIPP-KELLEY     44289-069

ROBIN WILLIAMS           59010- 177               CHRISTOPHER WOOD      18155-040

TRACY WILLIAMS           69527-01 8               ERIN WOODS            2070 1 -043

JERMAINE WILLIAMS       35374-068                 MARSHANE WOODS        20398-074

DAVID WILLIAMS          43076-039                 RASHAD WOODSIDE       0 1 607- 1 04


CIARA WILLIAMS          27560-078                 AMBER WORRELL         84297-408

CHRISTOPHER WILLIAMS     5 1 600-074              PEGGY WORTHINGTON     1 8407-030


LAMONT WILLIAMS         48343-066                 CHARLES WYATT         3496   1 -00 1


LAVELL WILLIAMS          08665-030                CHRISTOPHER YEAGLEY   85 126-054

GARY WILLIAMS           21195-032                 JEFFREY YOHAI         75866-1 12

STEVEN WILLIAMS         91 120-054                SHALEI YOUNG          19535-023

BETTYE WILLIAMS         92623-083                 JOSHUA YOUNG          16029-059

DEREK WILLIAMS           35289-054                LISA YRDANOFF         56282- 1 77

HERMAN WILLIAMS          09877-02 1               JOSE ZAVALA           07151-017

ANTHONY WILLIAMS         71167-019                CALVIN ZEIGLER        19490-052

OCTAVIUS WILLIAMS       49841 - 177               MIKHAIL ZEMLYANSKY    66544-054

DION WILLIAMS            80352-083                EDWARD ZINNER         48591 -066

JOSEPH WILLIAMS          0 1947-017               PERLA ZUNIGA          28 160-379

AARON WILLIAMS          40727-424                 ENRIQUE ZUNIGA        179 10-030

DONNA WILLIAMS           14756-0 10

EARL WILLIAMS JR         1 1386-089


JDONTA WILLIAMS          24459-009




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       I HEREBY FURTHER COMMUTE the total sentence of confinement that each of the

following named persons is now serving, to expire on April 11, 2025, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all of its
conditions and all other components of each respective sentence. Nothing in this grant of
clemency should be presumed to interfere with, or supersede, the Bureau of Prisons' authority to

oversee each person’s confinement, pursuant to the terms set forth in this grant of clemency.

Each person shall remain subject to all ordinary disciplinary rules. The following persons are
recipients of this grant of clemency:

  Name                            Reg. No.                Name                        Reg. No.
  JAIME AIRD                     57707-004                CHARLES GOFF JR            42572-061

  ANA ALVAREZ                    8 1092-004               FRANCISCO GONZALES         47204- 177

  EDUARDO ALVAREZ-               15733-112                JOSEPHINE GRAY             37156-037
  NIARQUEZ
                                                          ROGELIO GUERRERO           9537 1 -079
  SUSAN ANDERSON                 0935 1-02 1
                                                          TAMRAL GUZM AN             435 12-074
  DIMITRY ARONSHTEIN             64428-054
                                                          JOSE GUZMAN JR             09575-032
  GREGORY BARTKO                 61509-0 1 9
                                                          LAWRENCE HABERMAN          36897- 1 77
  SHANE BEGLEY                   16165-032
                                                          JUDY HARMON                 17940-042
  TASHA BLACKBURN                1 04 1 7-003

                                                          WENDY HECHTMAN             30350-047
  TIMOTHY BRADLEY                43080-074
                                                          TANIEE HENEGAR             422 1 7-074
  TRAVIS BROUGHTON               40626-509
                                                          CHRISTY HINES              45933-074
  FRANKLIN BROWN                 406 1 2-424
                                                          MARK HUNT                  47879- 177
  MILTON CARBE                   66325-079
  JUAN CARRASCO                  38885-177                REBECCA JACKSON            35684- 177

  TERRENCE CARTER                40030-424                BILLY JEFFERSON JR         83653-083

  PAUL CASS                      26342-00 1               SHAFT JONES                04688-027

  RUBEN CASTANEDA                83640-079                CHRISTOPHER JOSEPH         33 190-034

 NICOLE CLARK                    83942-083                BENNY JUDAH                38878-177

 JUAN CRUZ                       30864- 1 77              KAREN KALLEN-ZURY          00857- 104

  ANTHONY DESALVO                5 1480-074
                                                          JAMES KING                 3949 1-039

  MICHAEL DIFALCO                58132-018                LONNIE LANDON              1966 1-078

 JAMES DIMORA                    56275-060                WON LEE                    73411-004

  EDWIN DISLA                    31120-069                JOSEPH LESE                50658-0 18

  KRISTINA ERICKSON              12929-059                KEITH LEWIS                22457-055

 JEROME FLETCHER                 87729-020                SAMUEL LLOYD               62640-0 19

 JUAN FLORES                     20402-052                ERNEST LOPEZ               80125-280

  RICHARD GALIMBERTI             68520-054                ANDREW MACKEY              72284-053

 GERRICK GAMBRELL                50140-037                VICTOR MARIN               2855 1-034




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Name                     Reg. No.               Name                    Reg. No.

HOMERO MARTINEZ          45120- 177             ERNEST SINGLETON       1605 1-032

STEPHANIE MCCLUNG        1539 1 -088            RICARDO SMITH          07005-032

GARY MCDUFF              59934-079              WALTER SORRELLS        25229-045

THOMAS MCGLON            38887-0 19             JO ANN SPECK-EDGNION   4884   1- 177


RORY MEEKS               06 1 38-029            JERMAINE SPEED         19676-026

VICTOR MENDOZA           14194- 180             DEMETRIUS   SPENCE     55200-056

FRANCISCO MENDOZA        48863- 1 80            JOAQUIN SUAREZ-        47620- 112
                                                FLORES
THOMAS NIOOTY            69022-066
                                                BARRY SULLIVAN         104 1 8-003
DORA MOREIRA             03240- 1 04
                                                JOSEPH SWAFFORD        41045-074
DAVID MORROW             21500-076
                                                LARRY TALLENT          41538-074
BRYAN NOEL               23585-058
                                                FLAVIO TAM EZ          14812-379
CLIFFORD NOEL            34605- 183
                                                DUJU AN THOMAS         82036-083
CASEY PAINTER            33886- 177
                                                CHADWICK THOMPSON      07787-078
REBECCA PARRETT          85489-008
                                                JOSE TOBIAS            7704 1-279
JULIUS PINKSTON          42008-0 19
                                                GUMARO TORRES-LEON     34322-0 1 3
LEITSCHA                 279 16-055
PONCEDELEON                                     RAFAEL UBIETA          00725- 104

MARTIN PUENTES JR        24131 -077             VIDALE WALKER          20849-076

SONNY RAMDEO             80568-053              RONALD WALSTRONI       01784-029

MICHAEL RIOLO            73455-004              DONNELL WALTERS        16469-078

RALPH ROMERO             07528-027              KENNETH WASHINGTON     090 1 6-035

SPECK ROSS               19973-077              DANIEL WATLINGTON      24928-056

BRIAN ROWE               63555-054              STEPHON WILLIAMS       97072-020

MICHAEL RYERSON          32587-074              RONNIE WILSON          24023- 171

JOE SANDOVAL             49735- 177

FRANCESK SHKAMBI         46728-039




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       I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as

evidence of my action in order to carry into effect the terms of these grants of clemency, and to

deliver a certified copy of the signed warrant to each person to whom I have granted clemency as
evidence of my action.


       IN TESTIMONY        WHEREOF         I have hereunto signed my name and caused the seal of

the Department of Justice to be affixed.


                                                  Done at the City of Washington this 12th day of
                                                  December in the year of our Lord Two
                                                  Thousand and Twenty-Four and of the
                                                  Independence of the United States the
                                                  Tu'o Hundred and Forty-Ninth.




                                                  JOSEPH R. BIDEN JR
                                                      President




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